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U.S. D.epartment or Justiee                   Re·g1stration Stateme·nt
Washingt0n. oc 20530                          Pursuant to the Foreign Agents Registration Act of
                                                                          1938, as amended

                                                                   I-REGISTRANT
I. Naine.ofRegist~ant

   Flynn Intel Group, ln·c.

2. Registra~ion No. (To Be Assigne_d       By tl)e FARA Regisftatio"ii Unit)
   6406
3. Principal Business Address
   44 Canal Center Plaza, Alexandria VA 22314




4_. rfih-e registfantis an iQdividi.Jal, furnish tliaollowing infoi:mation:
   (a) Residence address(es)




   (b)   Other business address(es), if any




   (c) Nationality

   (d) Year of birth

  (e)    Present citizenship

  (f) l_f pres_ent cit_i_z~i:isl)ip i:io~ acquired by bi~h, s.tate when, w.here and how acquired

  (g) Occµpat_ion


5. Ifthe registrant is not an in_di_vidul!-1, fu_mish t~_e following ii:ifor1riatipn:
  (a) Typ_e of organization: Committee D              Association D           Partnership 0       Voluntary group   D
                                    Corporation 18'.1                Other (specify) _ _ _ _ _ _ _ __
  (b) Date and place of organization Delaware Secretary of State, June 12, 2015
  (c) Address of principal office 44 Canal C~nter Plaza, Alexa:nclria VA 2_2314


  (d) Na1I1.e of person hi c_harge Mtchael T.. Flynn and Bijan Rafiekian

  (e) Locations of branch or local offices N/A                                                               GOVERNMENT
                                                                                                               EXHIBIT

  (f) Ifa membership organization, give numbe,r o(mC:mbe:rs N/A                                                      56
                                                                                                              1:18-CR-457

                                                                                                              FORM NSD-l
                                                                                                              Revised 03/14

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                                                                                                                                           (PAGE 2)

   (g) 1_,ist aJI partn~rs, offiC:ers. dfrec:;rors or persons per(o):1jiing th~ fu~ctions of an office_r or director of the registrant

        Name                              Residence Address( es)                          Position                           Nationality
    Micl:iael ,:. ~fynn              Prcl'iii9ed se·parately (o tl:ie       Cl:i~irm¥1 and C_EO                    u._s.
    Bijan Rafie_kian                 Depart.ment of Ju)ti_c~.               Yice-r.;hai_rl!lar:i, ~irectj;>r,      u_._s.
                                                                            Secretary, and Treas_ure·r
    Philip Oakley                                                           President                              U.S.




  (h) Whi~h ofth~ abo"ve ria_me:d pe_r~ons r_ende_rs se_ivice_s djrectly in ~eran~e ofth~ int_er~sts of any of the foreign principals?
    Michael T. Flynn, Bijan Rafiekian



  (i) Describe the nature of the registrant's regular business or activity.
    Flynn lritel Group is:a consulting firm that provided intelligence research and advisory services.



  (j) Give a complete statement of the ownership and control of the registrant.
    Ownership as of November·31, 2016, was as follows: Michael T. Flynn (350,000 shares), Bijan Rafieklan (300,000 shares),
    Philtp Oakley (250,000 shares), Dr. Payman Arabshahi (5;000 shares), Darkshore LLC (1,000 shares). The corporation acts
    pursuant.to its bylaws, under-which the Board of Directors governs the organization. Directors include Michael T. Flynn,
    Bijan Rafiekian, and Philip Oakley.




6. List all employees who render.services to the registrant directly in furtherance of the interests of any of the foreign principaJs in
   oth_er than ·a clerical, secretarial. or in_ a related or sim_ilar capacity.

  Name                                                   Residence Address(es)                                   Nature'ofServices
 Michael T. Flynn                              Provided separately to the Department                 Director,.consulting
 Bijan Rafiekian                               of Justice.                                           Director,.consultlng




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                                                       lb-FOREIGN PRINCIPAL
 7. List every foreig·n principa\ I for whom the registrant is acting Or has agTeed to act.
    Foreign Principal                                                                       Principal Address( es)
    l_novoBV                                                                                    47 Adi_rea~n~vaat, 3581             sc; Ultrecht, The N_etb~:rl_an~s




                                                                                 111--ACl'l\/l'flES.
 8. In addition to the activities described in any Exhibit B to this statement, wiil you engage or areyou engaging now in activity oil
    your own behalf which benefits any or all of your foreign principals?                                          Yes 181                   N_o   D
    If yes, describe fully.
     Because this is filed retrospective to activity under this engagement, we note that during the course.of the engagement and
     the~eafter, Flynn Intel Group officials·(particularly Micha.el T. Flynn, in his capacity as a public figure separate from Flynn Intel
     Group) frequently wrote, sp_oke, or provided interviews relating to national security. Although not undertaken at the
     direction qfariy foreign prir:icipal, i_(i~lu:ding but no_t limited to lnovo, it is possible that such activities may have had an
     indi_rect be):i_efit to lnovo BV.




                                                                  1\/-FIN~CIAL I_NFORMATION

9. {a) RECEIPTS-MONIES
     During the period.beginning 60 days prior to the date of your obligation.to registerl to the time·oftiling this statement,
     did:ydu ~ece_ive from any foreign principal named in rtem 7 any contribution, income,.or money either as compensation or for
     disbursement or otherwise?       Yes D            No eg                                         ·
     If.yes, set forth b_elow in the required detail and separately for each such foreign principal an account of such monies. 3

     Foreign Principal                                           Date Received                                        Purpose                                            Aniowit
                                                                                               Becaus_e this is a retroactive reg lstration,
                                                                                               re:c:e_ipt~ appear 0".1      t~e
                                                                                                                        s_upple_mental
                                                                                               state·merit filed concuhently.




                                                                                                                                                                           Total
l The term "foreign principal," as defined m Section l(b) of the Act, mdudes a foreign government, foreign pohtical party. foreign orgamzntton, foreign 111d1v1duiil an£ f~r ,h-~
  purpose of registration,.an organization or an indi~idual any of whose activities are directly or indirectly supervised, directei:l, control led, financei:I. or subsidizeil in whole or in
  major part by a foreign government. foreign political party. foreign organization or foreign individual.
2 An agent must register within ten days of becoming an agent, and before acting as such.-
                                                                                                                           of
3 A registrant is required to file·an Exhibit D if he collects or receives contributions. loans, moneys, or other things value for a foreign prineipal, as part of a fundraising
  campaign. There is no printed form for this exhibit. (See Rule 20l(e), 28 C.F.R. § 5.201(e)).


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      (bfRECEIPT~THINGSOFVALUE-                                   - - -                           -- . -      .         .
      During the period beginnin·g 60 days prior to the date of your obligation to register4 to the time of filing this statement, did you
      receive from any foreign principai named in Item 7 anything ofvalue5 other than money, either as compensation, or for
      disbursement, or otherwise?              Yes D              No 181
       If yes, furnish the foltowing infonnation:
       Foreign Principal                                    Date Received                                Thing of Value                                         Purpose




      Duri11g the period beginning 60 days prior to the date of your obligation to register6 to the time offiiing this statement, did you
      spend or disburse any money in furtherance of or in connection· with your activities on behalf of any foreign principal named in
      Item 7?                Yes D            No [gJ

      I.f yes, se_t foi:th be_low ii:t tJiere.quired detai_l m:id separately for e_a,ch such for_eign pi:i_ncipal named inducting i:noriies transmitted,
      if any, to each foreign principal.
      Date                                                     To Whom                                        Purp~s~                                           Amount
                                                                                          . Because this is a retroactive registration,
                                                                                            d·isbursements appear on the
                                                                                            supplemental statement filed concurrently.



     ,(b).DISBURSEMENTS-TH_INGS OF VAJ,,UE
      During the period beginning 60 days prior to the date of your obligation to register7 to the time of fliing this statement, did you
      dispose:ofany thing ofvalue8 other than money in furtherance of or in connection with your activities on behalf of any foreign
      principal named in Item 7?    Yes D            No [8]
      lfyes, furnish thefollowing information;

                                     Re~ipi_en_t                       Foreign Principal                          Thing ofValu_e                                Purpose




      (c) I>ISBURSEl\-'.IENTS-POLITICAL CONTRIBUJ'IONS
      During the period beginning 60 days prior to the date of your obligation to. register9 to the time of filing this statement,.did.you,
      the registrant, or ariy short ~onn regisfrailt, n:_iake ~Y con,t_rit:,~t_i(>:n 9f mo~_ey or i;i_thej th_ing of value from your own funds arid on
      your own behalf in connection with an election to any political office or in coruiection with ariy primary election, convention, or
      caucus held to select candidates for any po"i°itical office?   Yes D             No 18'.l
      If yes, furnish the following infonnation:

      Date                  An:iP:urit cir Thi_ng of\'aj:ue             Political Organization or Candidate                                   Location of Event




4. 6, 7 and 9 See Footnolc 2, on page 3.
5 and 8 Things of value include but are not Iimitcd to gifts, interest free loans, expense free travel, favored stock purchases, cxclu.\ivc rights, favored 1rca1mcnr over competilon;,
          "kickbacks", and the like.



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                                                              V-INFORMATIONAL MATERIAJ..S ' 0

 11. Will the activities of the registrant oil behalf of any foreign· prin·cipal include the preparation or dissemination ofinformatiorial
     'Ila.t.erials?·   .      Yes 18] .                        No tJ                                     .
      IF YES, RESPOND TO THE REMAINING ITEMS IN THIS SECTION V.

 12. Identify each such foreign principal.
       lnovo BV.




13. Has a ou'dget been estil.blislici:l or specified s'i.frri of money' allocated to finance your activities in preparing or disseminating
    infonna_tion:itl.i:z'iatei:iaJs? ·             Yes D                 No 18]       ·            ·     ·                      '     ·

     lfye_s, identi7 each such f~reign principal, specify anioui)t and for what period oftim·e.
       S_ee attach.merit.




14. wm any public relations firms o~ publicity agents participate. fu tiie preparation or 'ciisseminaiion of such informational materials?
             Ye.s   ~                 N_o []

     If ye~, furnish the names and addresses of such persons or finns .
       .See attachment.




15. Ac_t,ivi~ies in preparing or dis~_em_inating ii:i_forqiational .materials will include the use of the following:

D Rad.io or TV broadcasts                      D Magazine or newspap·er D Motion pi_cJ1ire fi1111s        D L~tte:rs or te_l_egi:arris
D Advertising·campaigns                        D Press releases         D Pamphlets or other publications D Lectures or speeches
~ Other (specify) See attachment.
Electronic Comm·unications
D t;:m_ail
0 Website URL(s):
                   --------------------'-----"---'----------------
0 Social media website URL(s):
~ Other (specify) See attachment.
                          ----,---:-:--------:-------------------------------
16. Informational materials wiii be disseminated among the following.groups:
            D Public officials                                                         D     Civic groups or associations
            D Legislators                                                              D Libraries
            D Government agencies                                                      D Educational groups
            D Newspapers                                                               [] Nationality groups
            O Edi~ors                                                                  [8] Other (specify) See attac;hment.

17. Indicate language to be used in the informational materials:
            181 English                                                                 O Other (specify)
                                                                                                                   ------------
lO Ttie·tenn' itifomiation·al ·materials incliides·aiiy oritl, visual, graphic, written, or pictorial infonnation or matter of any kind, including that published by means of advertising, .
   books, periodicals, newspapers. lectures, broadcasts, motion pictures, or any means or instrwnentality of interstate or foreign co~merce. or othe~ise. ·1nformationat"materials
   disseminated by an agent of a foreign principal IIS part of an activity in itself exempt from registration, ~ran ecti~ity which by itsefr would not'require registration, neclnot be
   filed pursuant to Section 4(b) of the Ac!.                                               ·                                                                  ·   ·

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                                                              VI--EXHIBITS AND ATTACHMENTS

 18. (a) The fol101Ning describ.ed exhibits shall be filed with an initial registration statement:

     Exhibit A-          This exhibit, which is filed on Fonn NSD-3, sets forth the information required to. be disclosed concerning each
                         foreign principal named in Item 7.

     Exhibit B-          This exhib(t, which is filed on Form NSD-4, sets forth the infoifoatioil concerning the agreement or understanding
                         between the registrant and the foreign principal.

     (b) An Exhibit C shall be filed when applicable. This exhibit, for which no prin,ted form is provided, consists of a true copy of
         t.he chart~r. arti_cle,s ofin~orporll_tion, association. con_stitution, an:<J bylaws ofa registrant that _is an organizatio·n. A waiver of
         the requirement to tile an Exhibit C may be obtained for good cause shown upon written application to the Assistant Attorney
         Generai, National Security Division, U.S. Department of Justice, Washington, DC 20530. (See Rule.201(c) and (d)).

     (c)     An Exh_i_bi~. D sh~II be fil_~d when ap·pli_cabl.e. This exhibit, fo_r wl_l_icl_l ,r,10 ptjrit~d forn:i i_s provided, ~~ts forth an accoui:iJ of
             money collected or received as a result of a fundraising campaign and transmitted for a foreign principal. (See Rule.201 (e)).




In accordancewith 28 U.S.C. § 1746, the undersigned swear(s) or affirrn(s) under penalty of perjury that he/she has (they have) read
the information set forth in this registration statement and the attached exhibits and that he/she is (they are) familiar with the contents
thereof and that suqh contents are in their entirety true and accurate to the best ofhis/he"r (their) knowledge and belief, except that the
undersigned.make(s) no represen~ti,cin as to truth or ac·curacy C?ftJ1e·in.fo~!):tati_or:i c.()r:i~a.it:i~d ir:i. t.~~ at_ta~'-1.ed SJ:tort Fo~ Regis_tratiori ·
Statement(s), if any, insofar as such information is not within his/her (their) personal knowledge.

  (Date of sig1Jat1,1te)                                                           (Print or type name under each signature or provide electronic signature 11 )



March 07, 2017                                                                                    /s/ Michael T. Flynn                                                       eSigned




I I This statement shall be signed by the individual agent, if the registrant is an individual, or by a majority of those partners, officers, directors o"r persons pcrfbnning similar
    functions, if the registrant is an organization, except lhal the organi7Jltion can, by power of attorney, authorize one or ·more individuals to execute this statement on its behalf.


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 Flynn ftJ.(el Group, Inc., R,egis_tration S.tqtem_e_n_t

                                                  Attachment

 Items 11~17

         Pursuant to the contract between Flynn Intel Group and Inovo BV, the parties anticipated
 that Flynn Intel Group would engage a pubiic relations firm, Sphere Consulting, and engage a
 film production crew for the creation of a video. The public relations firm (S.GcR. LLC
 Go.vernmeiit Relations arid Lobbying} was engaged but the video was not completed or
 disseminated, to the best of our·understandihg. The b~dget for these activities was reflected in
 the engagement contractwith.S.G.R. LLC Government Relations and Lobbying; no separate
 budget rel~ted to inform~(ional n:ia~~_ri_als. Becau~ tp_i_s i_s a retroa:ctjve regist_rati~n prepare(i a~e.r
 Flynn Intel .Group had already begun to close-operations, this registration is based on
 documeIJ..t~Ji.or:i cu.rr~n_t_ly ~va.i_lable to Fiy1rn Int~l Group. If ~d4j#o:r)~J re_l~vant inform..ation is
 later identified, Flynn Intel Group will amend its registration.




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 U,S ..Department of Justice                                                          Exhibit A to Registration Statement
 Washingtc:m, DC 20530                                                                Pursuant to the Foreign: Agents Registration Act of
                                                                                      1938, as amended

 INSTRUCTIONS. Furnish this exhibit for EACH foreign principal listed in an initial staternent and for EACH additional foreign principal acquired
 subsequently. The filing of this document requires the payment of a filing fee as set forth iri Rule (d)(J), i8 C.F.R. § 5.5(d)( l): Compliance is
 accomplished by filing an electronic Exhibit A form at.b.Un;Uwww.farn_.gov.

 Privacy Act Statement. The filing of this document is requil"f!d by· the Foreign Ag~nts R(;!gistration Act of J938, as ~encjed, 22 U.S.C. § 611 et seq.,
 for the purposes of registration under the Act and public disclosure. Provision of the information requested is maridatofy, arid failure to provide tliis
 information is subject to the penalty and enforcement provisions established in Section 8 of the Act. Every registration statement, short form
 regis.tration statement, supple.mental statement, exhibit, amendment, copy of informational materials or other document or information filed with the
 Attorney General under this Act is a.public record open to public examination, inspection and copying during the posted business hours of the
 Registration Unit in Washington, DC. Sta,tements a,re also l!,Vail_able onHne at thf! Registration Unit's webpage: http://www.fara.gov. One copy of
 every such document, other than informational timterials, is automatically provided to the Secretary ofState pursuant to Section 6(b) of the Act, and
 copies of any and all documents are routinely made available to other agencies, departments and Congress pursuant to Section 6(c) of the Act. The
 Atfomey General also transmits a semi-annual report to Congress on the administration of the Act which lists the names of all agents registered under
 the Act and the foreign principals they represent. This report is available to the public in print and online at: http://www.fara.gov.
 Public Reporting Burden. Public reporting burden for this collection of information is estimated to average .49 hours per response, including the
 time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed,.and completing and reviewing the
 collection of information_. Send comments regarding this bµrden estimate or any other aspect of this collection of information, including suggestions
 for reducing this burden to Chief, Registration Unit, Counterespionage Section, National Security Division, U.S. Department of Justice, Washington,
 DC 20530; and to the Office oflnformation and Regulatory Affairs, Office ofMana,gement and Budge~ Washi_ngton, DC 20503.

 I. Name and Address of Registrant                                                                                                               2: Registration No.

   Flynn Intel Group, Inc.                                                                                                                                 6406
   44 Canal Center Plaza, Alexandria, VA 22314

 3. Name of Foreign Principal                                                           4. Principal Address of Foreign Principal
   lnovo BV                                                                               47 Adriaanstraat, 3581 SC Utrecht, The Netherlands




 5. Indicate whether your foreign principal is one of the following:
          [J Government of a foreign country 1
          D Foreign political party
          IE] Foreign or doinestic organization: If either, check one of the following:
                         D     Partnership                                         D    Committee
                         l&l   Cotpotation                                         D    Voluntary group
                         D     Associati.on                                        D    Other (specify)
          ~ I Individual-State nationality            ------'-----------------------------
6. If the foreign principal is a foreign gov~rrtment, state:
          a) Branch or agency represented by the registrant



            b) Name and title of official with whom registrant deals


7. If the foreign principal is a foreign political party, state:
          a) Principal address

                                                                                                                                                                GOVERNMENT
                                                                                                                                                                  EXHIBIT
            b)    Name and title of official with whom registrant deals
                                                                                                                                                                         58
            c)    Principal aim                                                                                                                                   1:18-CR-457

i ''Governmeiit o(a foreign country." as defined in Section I(e) of the Act, includes any person or group of persons exercising sovereign de facto or de jure political jurisdiction
over a.f1Y co1intry, other than the United States, or over any part of such cowitry. and i_ncludes a_ny su_bdivision of any such group and any group or agency to which such sovereign de
facto or de jure authority or functions are directly or indirectly delegated. -Such tenn shall include any faction or body of insurgents ,vithin a country assurriirig to exercise
governmental authority whether such faction or body of insurgents has or has not been recognized by the United States.
                                                                                                                                                                          FORMNSD-3
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8. If the foreign principal is not a foreign government or a foreign political party:
          a) State the nature of the business or activity of this foreign principal.
              See attachment.




         b) Is this foreign principal:
         Supervised by a foreign government, foreign political party, or other foreign principal                         Yes   O No l2SI
         Owned by a foreign government, foreign political party, or other foreign principal                              Yes   tJ   No Q9
         Directed by a foreign government, foreign political party, or other foreign principal         See attachment. Yes   O      No ~
         Controlled by a foreign government, foreign political party, or other foreign principal                         Yes O      No Q9
         Financed by a foreign government, foreign political party, or other foreign principal                           Yes O      No~
         Subsidized in part by   a foreign government, foreign political party, or oUier foreign principal               Yes O      No (251


9. Explain fully all items answered "Yes" in Item 8(b). (lfad_ditional space is needed, a full jn_sert page must be used.)




I0. If the foreign principal is an organization and is not owned or controlled by a foreign government, foreign political party or other
    foreign principal, state who owns and controls it
   See attachment.




                                                              EXECUTION

   In accordance with 28 U.S.C. § 1746, the undersigned swears ot affirms under penalty of perjury that he/~he has read the
   information set forth in this Exhibit A to the registration statement and that he/she is familiar with the contents thereof and that such
   contents are in their entirety true an~ accurate to the best of his/her knowledge and belief.



Date of Exhibit A    Name and Title                                                     Signature

 March 07, 2017        Michael T. Flynn, Chairman and CEO                               /s/ Michael T. Flynn                         eSigned


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  Flynn Intel Gr(!UP, Inc., Registration State~ent, Exhibit A


                                             Attacbment

  Items 8-10

         Inovo BV ("lnovo") is a Dut9h company incorporated in 2005 to provide business
  consultancy services. Flynn Intel Groµp understands the sole owner oflnovo BV to be Mr. Ekim
  Alptekin.

         According to Arent Fox, LLP, counsel to Mr. Alptekin:

      1. lnovo is a privately owned com:pany that has not received, directly or indirectly; funds or
         financial support from any government during the course of its engagement of Flynn Intel
         Group Inc., tncluding the Republic of turkey.

     2. At the time Inovo hired Flynn Intel Group, Inovo reptesertted a private sector com.party in
        Israel that sought to export natural gas to Turkey, and it was for support of its consulting
        work for this client that Inovo engaged Flynn Intel Group, specifically to 1J,nderstand the
        tumultuous political climate at the time between the United States and Turkey so that
        Inovo could advise its client regarding.its business opportunities and investment in
        turkey.

     3. Mr. Alptekin is a businessman who holds a rtumbet of positions in international business
        organi.7:ations, such as Honorary CmmsuJ to the Repµblic of Albania, and Chairman of
        the Turkish-American Business Council. Mr. Alptekin and any organiza,tion in which he
        participates are not agents of the government of the Republic of Turkey.

         Flynn Intel Group does rtot krtow whether or the extent to which the Republic of Turkey
 was involved with its retention by Inovo for the three,,.month project. Flynn Intel Group is aware
 that Mr. Alptekin consulted with officials of the Republic of Turkey regarding potential work by
 Flynn Intel Group, and Mr. Alptekin introduced officials of the Republic of Turkey to Flynn
 Intel Group officials ata meeting on September 19, 2016, in New York.




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lJ.S. Department of Justice                    Exhibit B to Registration Statement
wa~hington, DC 20530                           Pursuant to the Foreign Agents Registration Act of
                                               1938, as amended

INSTRUCTIONS. A registrant must furnish as an Exhibit B copies of each written agreement and the terms and conditions of each oral agreement
with his foreign principal, including all modifications of such agreements, or, where no contract exists, a full statement of all the circwnstances by
reason of which the registrant is acting as an agent.of a foreign principal. Compliance is accomplished by filing an electronic Exhibit B form at
http:/foww.fara.ggy.

Privacy Act Statement. The filing of this document .is required for the Foreign Agents Registration Act of 1938, as amended, 22 U.S.C. § 611 et seq.,
for the purposes of registration under the Act and public disclosure. Provision .of the information requested is mandatory, and failure to provide
the information is subject to the penalty and enforcement provisions established in Section 8 of the Act. Every registration statement, short form
registration statement, supplemental Stl!te_rnent. exhibit, am(;)ndment, copy of informational m~terials or o~er document or information filed with the
Attorney General uilder tliis Act is a public record open to public examination, inspection and copying during the posted business hours of the
Registration Unit in Washington, DC. Statem.ents are also available on.Hne at the Registration Unit's webpage: hnp_;/.~'&.\:'.1¥,.fori!.l,?,Q\:'.. One copy of
every such document, other than infonnational materials, is automatically provided to the Secretary of State pursuant to Section 6(b) of the Act, and
copies of any a:nd all documents are routinely made available to other agencies, departnients and Congress pursuant to Section 6(c) of the Act. The
Attorney General also transm.its a semi-annual report to Congress on th~ admin.istrat_i.on of the Act whic!i lists the names of all agents registered under
the Act and the foreign principals they represent. This report is available to the public in print and online at: http://www.fara.gQY.
Public Reporting Burden. Public reporting burden for this collection of information is estimated to average .33 hours per response, including the
time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviev,ing the
collection of information. Send comments regardi.ng this burden estimate or any other aspect of this collection of information, includit1g suggestions
for reducing this burden to Chief, Registration Unit, Counterespionage Section, National Security Division, U.S. Department of Justice, Washington,
DC 20530; and to the Office oflnformation and Regulatory Affairs, Office of Management and Budget, Washington, DC 20503.


1. Name of Registrant                                                        2. Registration No.

     Flynn Intel Group, Inc.                                                      6406

3. Name of Foreign Principal

     lnovo BV


                                                               Check Appropriate Box:

4.   ~   The agreement between the registrant and the a.hove-named foreign principal is a formal written contract. If this box is
         checked, attach a copy of the contract to this exhibit.
5.   D   There is no formal written contract between the registrant and the foreign principal. The agreement with the above-named
         foreign principal has resulted from an exchange of correspondence. If this box is checked, attach a copy of all pertinent
         correspondence, including a copy of any initial proposal which has been adopted by reference in such correspondence.

6.   D   The agreement or understanding between the registrant and the foreign principal is the result of neither a formal written
         contract nor ail exchange of correspondence between the parties. If this box is checked, give a complete description below of
         the terms and conditions of the oral agreement or understanding, its duration, the fees and expenses, if any, to be received.

7. Describe fully the nature and method of performance of the above indicated agreement or understanding.
     See. attached contract.·




                                                                                                                                               FORMNSD-4
                                                                                                                                               R.evi.sed 03/14
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 8. Describe fully the activit_ies the regi?trant engages in or proposes to t!ngage in on behalf of the above foreign prfocipal.
      Flynn Intel Group was tasked to perform investigative research for a specified scope of work using its laboratory team of
      senior defense, diplomacy, development, and intelligence professionals over a three-month period; Flynn Intel Group was
      to retain an experienced filming a_nci production crew in order to develop a short film piece on the results of its
      investigation, and a public affairs firm to utilize for public affairs as needed. Flynn Intel Group held weekly calls with the
      client to report engagement progress.




 9. Will the activities on behalfoftheabove foreign principal include political activities as defined in Section l(o) ofthe Act and in
    the footnote below? Yes l8]         No D

     lfyes, describe all such political activities indicating, among other things, the relations, interests or policies to be influenced
     together with the means to be employed to acl_lieve t_his purpose.
      See response to item 8.




                                                                                   EXECUTION

  In accordance with 28 U.S.C. § 1746, the undersigned swears or affirms under penalty of perjury that he/she has read the
  information set forth in this Exhibit B to the registration statement and that he/she is familiar with the contents thereof and that such
  contents are in their entirety true and accurate to the best of his/her knowledge and belief.


Date of Exhibit B                  Name and Title                                                          Signature
March 07, 2017                    Michael T. Flynn, Chairman and CEO                                       ts/Michael T. Flynn                                                 eSigned
Footnote: "Poht1cal act1v1ty," as defined in Section l(o) ofttic Act,."n1eans an}· activity which the person engaging in believes will, or that the person intends to, many way mtluence
any agency or official of the Government of the United States or any scctiory ofthe public within theUn_ited States with reference to formulating, adopting, or changing the
domestic or foreign policies of the United States or with reference to the political or public interests, pol_icies, or relations of a gove"rninent of a foreign country or a foreign political
party.              .



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U.S. Department of Justice                                                          Supplemental Statement
W~h_ington, DC 20530                                                                Pursuant to the Foreig11. Agents Registration Act of
                                                                                    1938, as amended

                                                         For Six Month Period Ending Nov. 30, 20! 6
                                                                                                         (Insert date)


                                                                            I - IU:GISTRANT

 l. (a) Name of Registrant                                                           (b) Registration No.

          Flynn Intel Group, Inc.                                                          6406

     ( c) Business Address( es) of Registrant
          44 Canal C:eriterPlaza, Alexandria, VA 24314




2. Has there been a change in the information previously fumishecl in connection with the following?
    (a) Ifan individual:
        ( 1) Residence address( es)         YesO             NoO
        (2) Citizenship                     Yes D            NoO
        (3) Occupation                      Yes[]            No[]
      (b) If an organization:
          (I) Name                                          Yes D                   No 12]
          (2) Ownership or control                          Yes D                   No l8j
          (3) Branch office_s                               Yes[]                   No ~ Flynn Intel Group's sole office closed in November 2016;
     (c) Explain fully all changes, if any, indicated in Items (a) and (b) above.
            Flynn Intel Group, Inc. suspended activities in November 2016.




                       IF THE REGISTRANT IS AN INDIVIl)UAL, OMIT RESPONSE TO ITEMS3, 4, AND 5(a).
3. If you have previously filed Exhibit C 1, state whether any changes therein ha:ve occurred during this 6 month reporting period.
          Yes D                       No Bl
    Ifyes, have you filed        l:Jcflamenclment to tl_le Exhibit C?               Yes D                   NoO
    If no; please attttc}J the. required amendment.



                                                                                                                                                                 GOVERNMENT
                                                                                                                                                                   EXHIBIT
                                                                                                                                                                          61
                                                                                                                                                                   1:18-CR-457
I The Exhibit C, for wfoch no 11nnted fonn 1s provided, consists of a true copy of the charter. art,cles·ot m~orporatmn; assoc,~tJon, and by l_aws of a registrant that 1s an
  organization. (A waiver ofihe requirement to file an Exhi_bit C may be obtafaed for good cause upo·n written applicaticiri to the Assistant Attorney General, National Security
  Division, US. Department of Justice, Washington. DC 20530.)
                                                                                                                                                                   FORM NSD-2
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4. (a) Have any persons ceased acting as partners, officers, directors or similar officials of the registrant during this 6 month repo~ing period?
                    Yes D             No 181
       Ifyes, furnish the following information:
       Name                                                                  Position                              Date Connection Ended




   (b) Have any persons become partners, officers, directors or similar officials during this 6 month reporting period?
                     Yes D              No 181
       If yes, furnish the following information:
       Name                                Residence Address                   Citizenship               Position                 Date Assumed




5. (a) Has any person named in Item 4(b) rendered services directly in furtherance of the interests of any foreign principal?
                     Yes D             No D
       If yes, identify each such person and describe the service rendered.




   (b) During this six month reporting period, has the registrant hired as employees or in any other capacity; any persons who rendered
       or will render services to the registrant directly in furtherance of the interests of a:ny foreign principal(s) in other than a clerical or
       secretarial, or in a related or similar capacity?      Yes D               No 181

      Name                                  Residence Address                     Citizenship                  Position          Date Assumed




   (c) Have any employees or individuals; who have filed a short form regi_stration statemeQt, terminated their employment or
       connection withthe registrant during this 6 month reporting period? Yes 12:1               No D
       If yes, furnish the following information:
       Nan1e                                                    Position or Connection                            Date Terminated

                                                    Flynn Intel Group, Inc. suspended activities in
                                                    November 2016.


  (d) Have any employees or individuals, who have filed a short fonn registratfon statement, terminated their connection with any foreign
      principal during this 6 month reporting period? Yes 181             No D                                                         ·
      Tfyes, furnish the following information:
      Name                               Position or Connection                     Foreign Principal                     Date Terminated
                                                                         The contract between lnovo BV ahd
                                                                         Flynn Intel Group ended by its terms
                                                                         on November 15, 2016.


6. Have short form registration statements been filed by all of the persons narped in Items 5(a) and 5(b) of the supplemental statement?
                    Yes tJ            No tJ
   If no, list names of persons who have not filed the required statement.




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                                                                       II - FOREIGN PRINCIPAL

7. Has your connection with any foreign principal ended during this 6 month reporting period?                                            Yes 18]                 NoO
   If yes, furnish the following information:

     Foreign Principal                                                                                                           Date ofTennination

     1.novo BV                                                                                                        November 15, 2016




8. Have you acquired any new foreign principal(s) 2 during this 6 month reporting period?                                               Yes    D                 No 18]
   Ifyes, furnish th following infonnation:

    Name and Address of Foreign Principal(s)                                                                                        Date Acquired




.9. In addition to those named in Items 7 and 8, if any, list foreign principal(s) 2 whom yoµ continued to represent during the 6 month
    reporting period.




10. (a) Have you filed exhibits for the newly acquired foreign principal(s), if any, listed in Item 8?
        Exhibit A3                 Yes O             No 0
        Exhibit 8 4
                                   Yes O             No 0
          lfno, please attach the required exhibit.

     (b) Have there been any changes in the Exhibits A and B previously filed for any foreign principal whom you
         represented during this six month period?                    Yes D              No l8J
          If yes, have you filed an amendment to these exhibits?                                 Yes   O                  No   0
          Ifno, please attach the required amendment.




2 The term "foreign principal" includes, in addition to those defined in Section l(b) of the Act, an individual organization any of whose activities are directly or indirectly
   supervised, directed, controlled, financed, or subsid.i.zed i.n whole or in major part by a foreign government, foreign political party, foreign organization or foreign individual.
   (See Rule tOO(a) (9)). A registrant who represents more than one foreign principal is required fo list in the statements he files under the Act only those principals for whoni he
   i.s not ent.it]ed to clai!n exemption un.der Section .3 of the Act (See Rule 208.)
3. T~e Exhi.bit A. which is filed on Fo.rm NSD-3, sets forth t.he information required to be disclosed concerning eacl~ foreign principal.
4 The Exhibit B, which is filed on Form NSD-4, sets forth the information concerning the agreement or understanding between the registrant and the
   foreign prii:icipaL

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                                                                              III - ACTIVITIES

 11. During this 6 month reporting period, have you engagedin any activities for or rendered any services to any foreign principal
     named in Items 7, 8, or 9 of this statement?            Yes IBI             No CJ

       lfyes, identify each foreign principal and describe in full detail your activities and services:
      See attachment.




 12. During this 6 month reporting period, have you on behalf of any foreign principal engaged in political activity 5 as defined below?
             Yes~                    No   D
      lfyes, identify each such foreign principal ancj describe in full detail aH such political activity, indicating, among other things,
      the relations, interests and policies sought to be influenced and the means employed to achieve this purpose. lfthe registrant
      arranged, sponsored or delivered speeches, lectures or radio and TV broadcasts, give details as to dates, places of delivery,
      names of speakers and subject matter.
      See attachment.




13. In addition to the above described activities, if any, have you engaged in activity on your own behalf which benefits your
                                                                                                                                                                                          I
    foreign principal(s)?       Yes l8]             No D

      lfyes, describe fully.
      Because of its expertise, Flynn Intel Group officials frequently write, speak, and give interviews on issues related to
      national security. Although not undertaken at the direction or control of a foreign principal, it is possible that such
      activities may have an indirect benefit to a principal. On his own initiative, Michael T. Flynn published an op-ed in The Hill
      on November 8, 2016, that related to the same subject matters as the Flynn Intel Group work for lnovo BV. Neither lnovo
      BV, nor any other person requested or directed publication of the op-ed.




5 "Political activity," as·defined in Se:Ction l(o) of the Act, means any activity that the person engaging in believes will, or that the person intends to, in any way influence any
  agency or official of the Government of the United States or any section of the public within the United States with reference to formulating, adopting or changing the domestic
  or foreign policies of the United States or with reference to political or public interests, policies. or relations ofa government of aforeign country or a foreign political party.
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                                                                 IV"' FINANCIAL INFORMATION
 14. (a)     RECEIPTS~MONIES
             During this 6 month reporting period, have you received from any foreign principal named in Items 7, 8, or 9 of this
             statement, or from any other source, for Or in the interests of any such foreign principal, any contributions, income or
             money either as compensation or otherwise?              Yes ~              No tJ

             Ifno, explain why.




             If yes, set forth below in the required detail and separately for each foreign principal an account of such monies.6
             bate                                     From Whom                                             Purpose                                             Amount
             See 1:1ttachment.




                                                                                                                                                                   Total

     (b)     RECEIPTS- FUNDRAISING CAMPAIGN
             During this 6 month reporting period, have you received, as part of a fundraisihg campaign7, any money on behalf of any
             foreign principal named in Items 7, 8, or 9 of this statement?           Yes O           No~
                                                             8
             If yes, have you filed an Exhibit D to your registration?                                           Yes    D                 NoO

             If yes, indicate the date the Exhibit D was filed.                         Date-----~---

     (c)     RECEIPTS-THINGS OF VALUE
             During this 6 month reporting period, have you received any thing ofvalue9 other than money from any foreign principal
             named in Items 7, 8, or 9 of this staten1ent, or from any other source, for or in the interests of any such foreign principal?
                     Yes O              No~

             If yes, furnish the following information:

            Foreign Principal                                       Date Received                           Thing of Value                                     Purpose




6, 7 A registrant is required to file an Exhibit D if he collects or receives contributions, loans, moneys, or otber things of value for a foreign principal. as part of a fundraising
    can1paign. (See Rule 20J(e)).
8 · An Exh.ibit D, fof which no printed fom1 is provided. sets forth an aceowlt of money collected or received as a result ofa fundraising campaign and transmitted for a foreign
    principal.                       ·
9 Things of value include but are not limited to gifts, interest free loans, expense free travel, favored stock purchases, exclusive rights, favored treatment ove_r competitors,
    "kickbacks," and the like.                                                                                 ·

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15. (a)   DISBURSEMENTS-MONIES
          During this 6 month reporting period, have you
          (I) disbursed or expended monies in connection with activity on behalf of any foreign principal named in Items 7, 8, or
              9 of this statement? Yes l.8l           No D
          (2) transmitted monies to any such foreign principal?           Yes   D           NoO

          If no, explain in full detail why t.here were no disbursements made on behalf of any foreign principal.



          If yes, set forth below in the required detail and separately for each foreign principal an account of such monies, including
          monies transmitted, if any, to each foreign principal.

          Date                              To Whom                                   Purpose                          Amount
          See attachment.




                                                                                                                         Total




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      (b)    DISBURSEMENTS-THINGS OF VALUE
             During this 6 month reporting period, have you disposed ofanything ofvalue 10 other than money in furtherance ofor iil
             connection with activities on behalf of any foreign principal named in Items 7, 8, or 9 of this statement?
                              Yes D              No 18]
             If yes, fumi_sh the following information:

             Date                            Recipient                       Foreign Principal                          Thing of Value                           Purpose




     (c)     DISBURSEMENTS-POLITICAL CONTRIBUTIONS
             During this 6 month reporting period, have you from your own fun(js and on your own behalf either directly or through any
             other person, made any contributions of money or other things of value' 1 in connection with ail election to any political
             office, or in connection with any primary election, convention, or caucus held to select candidates for political office?
                                      Yes   8J                 No    D
             If yes, furnish the following information,

             Date                            Amount or Thing of Value                            Political Organization or Candidate                      Location of Event

            Hafiekian
             10/31/16                   $250                                                  Trump Make American Great Again
                                                                                              Committee
             Rafiekian
            *                           *                                                     Zinke For Congress


                                        * Mt. Rafiekian is searching for
                                       records of the date and amount of
                                       the contribution, which he believes
                                       he made, and will amend this
                                       report when the information is
                                       located.




10. 11 Things of value inclµd_e but are not limited to gi~s. interest free loans, expense free travel. favcir'e_d stock purchases, exclusive rights, favored treatment over competitors,
       "kickbacks," and the like.


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                                                              V - INFORMATIONAL MATERIALS
                                                                                                                                                                                           12
16. (a) D11ring this 6 month reporting period, did you prepare, disseminate or cause to be dissem_inated any informational materi1._11_s?
           ·      Yes~              No D                                                                   -
      IfYes, go to Item 17.
    (b) If you answered No to Item 16(a), do you disseminate any material in connection with your registration?
                   Yes D               No D
     If Yes, please forward the materials disseminated during the six month period to the Registration Unit for review.
             -- --       . -    .. -- ·--··
17. Identify-each such foreign principal:
     lnovo BV.




18. During this 6 month reporting period, has any foreign principal established a budget or allocated a specified sum of money to
    finance your 1._1ctivities in prepari1J.g or disseminating informational materials?   Yes_ D             No [8J
      Ifyes, identify each such foreign principal, specify amount, and indicate for what period of time.
      See attachment.




19. During this 6 month reporting period, did your act1vit1es m preparing, disseminatmg or causmg the d1ssemmat1on of mfonnat1onal
    materials include the use ofariy ofthe following:
D Radio or TV broadcasts         D Magazine or newspaper D Motion picture films                  D Letters or telegrams
D Advertising campaigns        D Press releases                                         D Pamphlets or ot_her p~bliCl._ltions D Lectures or speeches
18] Other (spec[/y) See attachment.
                           ----------------------------------------
Electronic Communications

D Email
D Website URL(s):. -------------~--~--~-=~-'--'-~--~~----------
D Social media websites URL(s): --'------,----------------'----------------
[8] Other (specify) .,..s:...e_e_a_tt_a_;_c_h_m_e_n_t._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~ - - - ~ - - - - - -

20. During this 6 month reporting period, did you disseminate or cause to be disseminated informational materials among any of
    the following groups:
         D Public officials                                              D Newspapers                                                   0 Libraries
         D Legislators                                                   D Editors                                                      D Educational institutions
         D Government agencies                                           D Civic groups or associations                                 D Nationality groups
         18] Other (specify) See attachment.

21. What language was used in the informational materials:
        ~ English                                                           D    Other ( s p e c i f y ) - - - - - - - - - - - - - - -

22. Did you file with the Registration Unit, U.S. Department of Justice a copy ofeach iteni of such informational materials
    disseminated or caused to be disseminated during this 6 month reporting period?      Yes D             No D See attachment

23. Did you label each item of such informational materials with the statement required by Section 4(b) ofthe Act?
        Yes D             No D See attachment.

12 Th:e term infonnational materials incl_udes any orai, vis_ual. graphic, written, or pictorial infonnation or matter of any kind, including that published by means of advertising,
   books, periodicals, newspapers, lectures, broadcasts, motion pictures, or any-means or instrumentality of interstate or foreign commerce or otherwise. Informational materials
   disseniinated by an agent of a foreign principal as part of an activity in itself exempt from registration, or ari activity which by itself would ncit req·uire registration; need not be
   filed pursuant to Sec_tion 4(b) of the _A<.:t.


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                                                                                 VI - EXECUTION
In accordance with 28 U.S.C. § 1746, the undersigned swear(s) or affirm(s) under penalty of perjµry that he/she has (they have) read
the information set forth in this registration statement and the attached exhibits and that he/she is (they are) familiar with the contents
thereof arid that such contents are in their entirety true and accurate to the best ofhis/her (their) knowledge and belief, except that the
undersigned make(s) no representation as to truth or accuracy of the information contained in the attached Short Form Registration
Statement(s), if any, insofar as such information is not within his/her (their) personal knowledge.


                                                                                                                                                                                            13
(Date of signature)                                                                  (Pri11t or type name under each signature or provide electronic signature                                   )




 March 07, 2017                                                                                 /s/ Michael T. Flynn                                                         eSigned




13 This statement shall be signed by the individual agent, if the registrant is an individual, or by a majority of those partners, officers; directors or persons perfonning:sirililar
    function.s, if the registra11t is an orga.nization, except that the organi_zation can, by power of attorney, authorize one or more individual.s tci execute t.his stat~ment on its behalf.




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 Flynn Intel Group, Inc., Supplemental Statement


                                            Attachment

 Items 11-12


     Note: In September 2016, the Flynn Intel Group filed a registration under the Lobbying
     Disclosure Act for its representation oflnovo BV ("lnovo"). Upon further review, and to
     eliminate any potential doubt, the Flynn Intel Group is electing to file a registration and
     supplemental statement under the Foreign Agents Registration Act in lieu of its prior
     LOA registration. Although the Flynn Intel Group was engaged by a private firm, Inovo
     BV, and not by a foreign government, because of the subject matter of the engagement,
     Flynn lntel Group's work for Inovo could be construed to have principally benefitted the
     Republic of Turkey. The Department's regulations provide that the LOA exemption
     from FARA registration is not avaHable if a foreign government or political party is the
     principal beneficiary. See 28 C.F.R. § 5.307. This retroactive supplemental statement is
     being filed after the Flynn Intel Group closed its operations in November 2016, and the
     supplemental statement is therefore based on information that is currently available to
     Flynn Intel Group, to the best of its knowledge, after undertaking due diligence.with the
     assistance of counsel.


                                                                                a
          In August 2016, Flynn Intel Group entered into a contract with Inovo, consulting firm
 based in the Netherlands. The contract provided that Flynn Intel Group would perform research,
 engage a public relations firm and a filming and production crew to potentially distribute the
 results of its research, and hold weekly calls with the client to discuss progress on the project.
 Flynn Intel Group understood the engagement to be focused on improving U.S. business
 organizations' confidence regarding doing business in Turkey, particularly with respect to the
 stability of Turkey and its suitability as a venue for investment and commercial activity .. Inovo
 has represented, through its counsel, that no part of the fees paid to Flynn Intel Group by Inovo
 was provided by any foreign government.

         Under the contract, Flynn Intel Group conducted open-source research for I11ovo and at
 Inovo's direction. The research, which was conducted by independent contractors retained for
 this purpose, focused on Mr. FethuHah Gillen and charter schools in the United States that are
 associated with, or allegedly associated with, Mr. Gillen. The results of Flynn Intel Group's
 research were provided to Inovo, and to S.G.R. LLC Government Relations and Lobbying, the
 public relations firm engaged by Flynn Intel Group. Flynn Intel Group and the public relations
 firm developed various materials and documents related to this research for potential
 dissemination. Because the project was terminated early, the full scope of the contract was not
 performed, and to the best of Flynn Intel Group's knowledge, none of the research materials
 prepared by the Flynn Intel Group were disseminated to third parties.

        In early September 2016, Flynn Intel Group was invited by Mr. Alptekirt to meet with a
 group of government officials from Turkey for the purpose of understanding better the political
 climate in Turkey at the time, as background for the project. Officials of the Republic ofTQrkey




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 attending this meeting on September 19, 2016, in New Yoi:k, were the Minister of Foreign
 Affairs and the Minister of Energy, to the .best of Flynn Intel Group's current understanding.

         Mr. Rafiekian 111et withMiles Taylor, National Security Advisor to the House Committee
 on Homeland Security, on two occasions in approximately October 2016, at Mr. Taylor's office
 and at Flynn Intel Group's office. A representative of S.G.R. LLC Government Relations and
 Lobbying attended the meeting at Flynn Intel Group's office. Over the course of the discussions,
 Mr. Rafiekian raised the firm's representation of Inovo and issues related to the research
 conducted for Inovo concerni_ng Mr. GUI en and Turkey. Flynn Intel Group also oversaw
 outreach, which was conducted by the public relations firm, to a state government official in
 Arkansas.

         Pursuant to its contract with Inovo, Flynn Intel Group infotmally engaged a group of
 individuals (independent contractors) to foflll a film and production crew for the purposes of
 producing a video documentary based on its research associated with Mr. GOien. The activities
 included a couple of videotaped interviews and other initial development of content. Because
 the contract was not extended, the full scope of anticipated work was not performed and, to the
 best of Flynn Intel Group's current knowledge, the video wa:s neither finished nor disseminated
 to any third parties. S.G.R. LLC Government Relations and Lobbying created a Gtden-thetned
 monopoly graphic at the direction of Flynn _Intel Group. To tbe best of its knowledge, Flynn
 Intel Group did not disseminate this document or associated research (other than to Inqvo).

         In late October and early November 2016, Gen. Flynn of Flynn Intel Group developed an
 op-ed article based,-in part, on the research conducted by Flynn Intel Group under the Inovo
 engagement. The op-ed was not written or published at the request of, or under the direction or
 control of, Inovo, the Republic of Turkey, or any other party. No compensation was received for
 the publication of the op'.'ed. In addition to Gen. Flynn, Bijan Rafiekian and an editor, Hank
 Cox, participated in the drafting. Inovo, Mr. Alptekin, and the Republic of Turkey did not
 participate in the drafting. Nonetheless, the op-ed addresses subject matter related to the
 research that Flynn Intel Group conducted for Inovo, and a draft of the op-ed was shared with
 Inovo in advance of publication. No changes, other than technical edits, were made to the op-ed
 based on feedback from Inovo. To the best of our knowledge, lnovo did not communicate with
 the Republic of Turkey regarding the op-ed or provide the draft op-ed to the government. S.G.R.
 LLC Government Relations and Lobbying assisted Flynn Intel Group with placement of the op-
 ed with The Hill publication.

 Item 14

 Payments received by Flynn Intel Group in connection with the project and purpose based on
 information contained in Flynn Intel Group's general ledger and accounting records.



 09/09/2016                                                                           $200,000.00-.
 1Q/U/20l6        IDQYQ_BV_     _                                                     $185,000.00
 1l/14/20J6       Inovo.BV                                                            $145,000.00




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 ltem 15

 Disbursements by Flynn Intel Groijp in connection with the project a.nd purpose ba_sed on
 information contained in Flynn Intel .Group's general ledger and accounting records.


  10/14/2016                      Bob Kell~y _ _ _C_ons_ul~n~y F(?e__ ____ ___ _ _ _- _ __                                                     _         .
                                                                                                                                                            $2,500.00
  10/31/2016                      Bob Kelley                            Cons·ultancy Fee                                                                 - $2,500.00
  11/21/2016
 -· -     . --- -
                                 _Bob JS.elley_                        .Cgn~ult~ncy_ Fe~                                       ..
                                                                                                                                                            $5,000.00
                                                                                                --
  10/04/2016                      Btian McCauley. Consultancy Fee                                                                                           $5,000.00
  l0/13/2016                      Brian McCauley Consultancy Fee                                                                                            $3,000.00
  11/14/2016···                   Brian McCauley                        Consultancy Fee                                                --·----
                                                                                                                                                            $~,000.0Q ·---

  12/05/2016                      8rian McCauley Consultancy Fee                                                                                          $i5,000.00
  ()9/19/2016                     Carl Pilgram                         _Admjnistrative St1pport -                   - --                                 . $4,000.00
                                                                                                                                              ---·-
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                                                                                                                                                               .. .
  10/25/2016                      Carl Pilgtam                          Administrative Support                                                          . . $4,00<fO(f
  11/16/2016                      Carl Pilgram                          Administrative Support                                                              $4,000.00
  10/11/2016                      David Enders                          Videography                                                                         $1,700.00
  10/11/2016
  ..    -·- --               --
                                  David
                                    .. -      Enders       ----.
                                                              ...
                                                                        Videography    _                                                                        $850.00
                                                             ...
  f2/02/2() 16                    David Endei·s                        Vicfeogiaphf -                                     ..    ..                          . -
                                                                                                                                                                $850.00       ...    . ..
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  12/02/2016                      Hank Cox                              Editing                                                                              - "$3°00:00
 9/_13/201 (i -                   I11ovo --·BY                          Consultllll<;y Fee                                                                $40,000.00
                                                ...
                                               ,.-


  f0/i1120l6                      InovoBV                               Consultancy Fee                                                                   $40,000.0Q
 09/13/2016-                     _l\1ifhael G. Flyrm _ _Acitnini_strative Support                                                                           $4,000.00
  10/21/2016                      Michael d. Flynn Admirtisirative-~fopport                                            ----                           - .
                                                                                                                                                            $4,()00.00
                                                                                                                                                                   ··-

 11/22/2016                       Michael G, Flynn Administrative Support                                                                           '       $~_,OQ0.00.
 10111/2016                       Mike Boston                          Consultancy Fee                                                                     $ 8,000.()()
  f0/1412016 - -- -- ·----Mlke      ---·- -
                                             Boston- ---               C:onsultancy Fee                                                                     $8,000.00
 11/21/2016                       Mike ·Boston                         Consultancy Fee ----                     -·-·· ----                        .
                                                                                                                                                            $8,000.00
                                                                                                     -               ·-                     -·
 11/10/2016                       Oper~tional                          Consultancy Fee                                                                   -$20,000.00
                                  Behavioral
            ----·-                Setvkes
 10/i3/20f6                       Paul Becker .                       ·Consultancy Fee              --· -·      ·-               ----
                                                                                                                                                            $1,500.00
                                                                                                                                                              ..

 11/22/2016                       Paul Becker                          ConsultM).cy Fee                                                                   . $6,000.()0
 10/12/2016
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                                -··  -·   ---Bakhtfar
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                                                                       Interview                                                                                 $1,ioo
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_1_()/J"t/iQJ6 -· - - SGR.LLC ---- ---- J>ii&1k Affairs
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                                                                                                                                                         $15,000.00
 10/24/2() 16                     SGRLLC                              .Public Affairs                                                                    $10,000.00
 11/1q/201 (>                     SQRLLC                               Pµt,lic Affairs                   -- - --- ··--        -·-··-·-
                                                                                                                                                         $15,000.00
                                                                                                                                                                                     . ·-
 10/05/2016                       White Canvas                         Public open source research                                                          $7,500.00
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                                  GrQup                             ...                                - --- ----
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 12/16/2016                       White Canvas                         Public open soutc.e research···-·                                                   $7,500.00
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 Items 16-23

          Putsu.ant to the contract between Flynn Intel Group and Inovo BV, the parties anticipated
  that Flynn Intel Group would engage a public relations firm, Sphere Consulting, and engage a
  film production crew for the creation of a video. The public relations firm (S.G.R. LLC
  Government Relations and Lobbying) was engaged but the video wa.s Qot completed or
  disseminated, to the best of our understanding. The budget for these activities was reflected in
  the engagement contract with S.G.R. LLC Government Relations and Lobbying; no separate
  budget related to informational materials. Because this is a retroactive registration prepared after
  Flynn Intel Group had already begun to close operations,· this registration is based on
  documentation currently available to Flynn Intel Group. If addit.ional televantinfotntation is
. later identified, Flynn Intel Group will amend its registration.            ·




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